                 Case 23-14812                       Doc 27          Filed 01/13/24 Entered 01/13/24 20:47:20                     Desc Main
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 Fill in this information to identify your case:
 Debtor 1               Marquis Ezell
                              First Name            Middle Name             Last Name
 Debtor 2
 (Spouse, if filing) First Name       Middle Name           Last Name
 United States Bankruptcy Court for the:          NORTHERN DISTRICT OF ILLINOIS                                        Check if this is an amended plan, and
                                                                                                                       list below the sections of the plan that
 Case number:                 1:23-bk-14812                                                                            have been changed.
                                                                                                                       2.3, 5.1
 (If known)


Official Form 113
Chapter 13 Plan                                                                                                                                              12/17


 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do
                           not comply with local rules and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                           attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy Court.
                           The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
                           3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                           includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will be
                           ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in a             Included                   Not Included
              partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                 Included                   Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                          Included                   Not Included


 Part 2:       Plan Payments and Length of Plan

2.1           Debtor(s) will make regular payments to the trustee as follows:

$1,303.28 per Month for 60 months

Insert additional lines if needed.

              If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments
              to creditors specified in this plan.

2.2           Regular payments to the trustee will be made from future income in the following manner.

              Check all that apply:
                       Debtor(s) will make payments pursuant to a payroll deduction order.
                       Debtor(s) will make payments directly to the trustee.
                       Other (specify method of payment):

2.3 Income tax refunds.
    Check one.
                  Debtor(s) will retain any income tax refunds received during the plan term.

APPENDIX D                                                                      Chapter 13 Plan                                                 Page 1
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                          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return
                          and will turn over to the trustee all income tax refunds received during the plan term.

                          Debtor(s) will treat income refunds as follows:
                          On or before April 20th of the year following the filing of the case and each year thereafter, the Debtor(s) shall submit a
                          copy of the prior year's filed federal tax return to the Chapter 13 Trustee. The Debtor(s) shall tender the amount of any
                          tax refund received while the case is pending in excess of $1,200.00 to the Trustee. The tax refunds shall be treated as
                          additional payments into the plan and must be submitted within 7 (seven) days of receipt of each such refunds by the
                          Debtor(s).


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5          The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $78,196.80.

 Part 3:      Treatment of Secured Claims

3.1          Maintenance of payments and cure of default, if any.

             Check one.
                     None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

3.2          Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                          The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured
                          claim listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of
                          secured claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed
                          in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each listed
                          claim, the value of the secured claim will be paid in full with interest at the rate stated below.

                          The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of
                          this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated
                          in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s
                          total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.

                          The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
                          property interest of the debtor(s) or the estate(s) until the earlier of:

                          (a) payment of the underlying debt determined under nonbankruptcy law, or

                          (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.


 Name of               Estimated             Collateral              Value of     Amount of         Amount of         Interest     Monthly            Estimated
 creditor              amount of                                     collateral   claims senior     secured claim     rate         payment to         total of
                       creditor's                                                 to creditor's                                    creditor           monthly
                       total claim                                                claim                                                               payments
 Ally
 Financial,            $35,166.0             2020 Dodge                                                                                                  $28,851.0
 Inc                   0                     Challenger              $23,700.00         $0.00         $23,700.00       8.75%          $489.00                    0




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 Name of               Estimated             Collateral              Value of     Amount of         Amount of       Interest   Monthly            Estimated
 creditor              amount of                                     collateral   claims senior     secured claim   rate       payment to         total of
                       creditor's                                                 to creditor's                                creditor           monthly
                       total claim                                                claim                                                           payments
                                             2015 Jeep
                                             Grand
                                             Cherokee
                                             111000
                                             miles
                                             2 months
                                             behind,
 Ally                                        payments
 Financial,            $33,212.0             are $800 a                                                                                              $11,512.0
 Inc                   0                     month.                  $11,725.00         $0.00         $11,725.00     8.75%        $195.12                    8
                                             2020
 Hyundai                                     Hyundai
 Capital               $22,971.0             Santa Fe                                                                                                $27,969.5
 Americ                0                     39982 miles             $25,800.00         $0.00         $22,971.00     8.75%        $474.06                    4

Insert additional claims as needed.

 3.3         Secured claims excluded from 11 U.S.C. § 506.

      Check one.
                          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4          Lien avoidance.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:      Treatment of Fees and Priority Claims

4.1          General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

4.2          Trustee’s fees
             Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 7.10% of plan payments; and
             during the plan term, they are estimated to total $5,551.80.

4.3          Attorney's fees.

             The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,000.00.

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                     None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:      Treatment of Nonpriority Unsecured Claims
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5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
             providing the largest payment will be effective. Check all that apply.

                The sum of $ 0.00 .
                     % of the total amount of these claims, an estimated payment of $     .
                The funds remaining after disbursements have been made to all other creditors provided for in this plan.



                If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $ 2,421.75       .
                Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
             and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:      Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor(s) upon
      Check the appliable box:
            plan confirmation.
            entry of discharge.
            other:

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

 Part 9:      Signature(s):

9.1        Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for Debtor(s), if
any, must sign below.
 X /s/ Marquis Ezell                                                     X
       Marquis Ezell                                                          Signature of Debtor 2
       Signature of Debtor 1

       Executed on             January 13, 2024                                        Executed on

 X     /s/ Vaughn White                                                         Date     January 13, 2024
       Vaughn White
       Signature of Attorney for Debtor(s)




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By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.




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Exhibit: Total Amount of Estimated Trustee Payments

The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

 a.    Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                                    $0.00

 b.    Modified secured claims (Part 3, Section 3.2 total)                                                                                    $68,332.62

 c.    Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                                                       $0.00

 d.    Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                                             $0.00

 e.    Fees and priority claims (Part 4 total)                                                                                                  $9,864.18

 f.    Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                                                      $0.00

 g.    Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                                  $0.00

 h.    Separately classified unsecured claims (Part 5, Section 5.3 total)                                                                             $0.00

 i.    Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                                       $0.00

 j.    Nonstandard payments (Part 8, total)                                                                    +                                      $0.00


 Total of lines a through j                                                                                                                   $78,196.80




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